Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 1 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 2 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 3 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 4 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 5 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 6 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 7 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 8 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 9 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 10 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 11 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 12 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 13 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 14 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 15 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 16 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 17 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 18 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 19 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 20 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 21 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 22 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 23 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 24 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 25 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 26 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 27 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 28 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 29 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 30 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 31 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 32 of 33
Case 22-60027 Document 1 Filed in TXSB on 06/03/22 Page 33 of 33
